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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 20-CV-11744-RWZ

ALEXANDER SVERDLOV
Vv.

BORIS EYDINOV, et al.

MEMORANDUM & ORDER

August 19, 2021

ZOBEL, S.D.J.

Defendant Boris Eydinov executed and delivered to plaintiff three promissory
notes in the total principal amount of $557,000, which remain largely unpaid. The
amended complaint alleged that the notes were secured by an interest in two adult day
care centers, Lynn Adult Day Health Care (“ADHC”) and East Point ADHC, owned by
Boris’ son, Alexander.’ A group of defendants, including Alexander, moved to dismiss
counts II and Ill of the amended complaint. In its order allowing the motion, the court
noted that the moving defendants, unlike Boris, were not obligors on the notes. (Docket
#20). Overall, plaintiff “insufficiently alleged that the Moving Defendants had any

obligation to him and therefore has not plausibly alleged that he is entitled to relief from

 

1 The court will refer to defendants Boris and Alexander Eydinov by their first names to avoid confusion.
Plaintiff, also named Alexander, will be “plaintiff.”

? Boris did not join the motion to dismiss.
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them.” (Id, at 3). Plaintiff now asks the court to reconsider and to allow him to amend

his complaint. (Docket # 22). For the reasons set forth below, the motion is denied.
I. Motion for Partial Reconsideration

Plaintiff moves for partial reconsideration, citing Federal Rule of Civil Procedure
59(e) and claiming that new evidence has come to light as to dismissed defendants
Alexander, Lynn ADHC, and East Point ADHC. (Docket # 23 at 6-7, 11). The evidence
cited in the memorandum in support of his motion and in the proposed second amended
complaint, however, is not new. Instead, this “new” evidence includes information
previously known to plaintiff as well as allegations collected from an unverified
complaint filed by another party against Boris and Alexander in state court. It provides
no basis for the extraordinary relief plaintiff seeks and the motion for reconsideration is

denied.
lt. Motion to Amend

Plaintiff also seeks leave to amend his complaint to add claims against Boris, and
to add claims against dismissed defendants Alexander, Lynn ADHC, East Point ADHC,
and an additional entity, Sigma Management Group, LLC (“Sigma”), which is allegedly
linked to Boris and Alexander. Again, plaintiff presents no new evidence in support of
the proposed second amended complaint.

When considering a motion for leave to amend under Federal Rule of Civil
Procedure 15(a)(2), “[clourts are instructed to ‘freely give leave when justice so
requires.’ This permissiveness, though, extends only so far. A court may deny leave to

amend for a variety of reasons, including ‘futility, bad faith, undue delay, or a dilatory
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motive on the movant’s part.” Privitera v. Curran (In re Curran), 855 F.3d 19, 27-28
(1st Cir. 2017) (citations omitted) (first quoting Fed. R. Civ. P. 15(a)(2); then quoting
Hatch v. Dep’t for Children, Youth & Their Families, 274 F.3d 12, 19 (1st Cir. 2001)).
“When—as in this case—a plaintiff seeks to amend [his] complaint prior to the
commencement or completion of discovery,” the court will “view futility through the lens
of Federal Rule of Civil Procedure 12(b)(6).” Parker v. Landry, 935 F.3d 9, 13 (1st Cir.
2019). “So viewed, a proposed amendment is futile if it fails to ‘state a claim to relief
that is plausible on its face.” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007)).

The proposed claim of unjust enrichment against Alexander, East Point ADHC,
Lynn ADHC, and Sigma is futile as it does not address the deficiencies identified in the
court’s order on the motion to dismiss. The proposed claim of unjust enrichment
against Boris is futile as the notes provide plaintiff with an adequate remedy at law. See
Shaulis v. Nordstrom, Inc., 865 F.3d 1, 16 (1st Cir. 2017) (“Massachusetts law does not

permit litigants ‘to override an express contract by arguing unjust enrichment.” (quoting
Platten v. HG Bermuda Exempted Ltd., 437 F.3d 118, 130 (1st Cir. 2006))).° For the
same reasons, the proposed claim of money had and received against Boris,
Alexander, East Point ADHC, Lynn ADHC, and Sigma is also futile. See Reed v.
Zipcar, Inc., 527 F. App’x 20, 24 (1st Cir. 2013) (affirming dismissal where plaintiff had

an adequate remedy at law and noting that “the claim of money had and received is

simply a narrower form of an unjust enrichment” claim).

 

3 Boris has not moved to dismiss the unjust enrichment claim against him in the amended complaint, but
objects to its inclusion in the proposed second amended complaint. (Docket # 31 at 5).

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The proposed claim of breach of the covenant of good faith and fair dealing
against Boris is futile because plaintiff makes only a conclusory allegation that Boris
never intended to repay the notes. In addition, this claim relies on allegations—not
facts—from an unverified complaint in another case.4

The proposed claim of a violation of Chapter 93A, § 11 against Boris, Alexander,
East Point ADHC, Lynn ADHC, and Sigma is futile because plaintiffs own allegations
undermine it. “Section 11 allows private causes of action under chapter 93A by ‘[a]ny
person who engages in the conduct of any trade or commerce.” Geis v. Nestlé Waters

N. Am., Inc., 321 F. Supp. 3d 230, 243 (D. Mass. 2018) (quoting Mass. Gen. Laws ch.

 

93A, § 11). “This section of the statute ‘governs commercial transactions between two
parties acting in a business context.” Id. (quoting Kraft Power Corp. v. Merrill, 981
N.E.2d 671, 682-83 (Mass. 2013)). Rather than describing a business arrangement,
however, plaintiff indicates that he and Boris were friends and that he loaned money to
Boris through a “handshake agreement” that was later formalized by the notes at issue.
(Docket # 22-1 at J 10, 33). This belies his attempts to characterize the loan as taking
place in a business context as required under § 11. See Kunelius v. Town of Stow, 588
F.3d 1, 16 (1st Cir. 2009) (“[W]hether an isolated transaction takes place in a ‘business
context’ must be determined from the circumstances in each case, such as the
frequency of similar transactions, the motivation behind the transaction, and the role of
the participant in the transaction.”).

Lastly, the proposed claim of foreclosure on collateral against Boris, Alexander,

Lynn ADHC, and John Doe defendants is futile because it is a remedy rather than a

 

4 In that case, a different plaintiff alleges that Boris defaulted on loans, but does not allege bad faith.

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claim. See Jones v. Cavazos, 889 F.2d 1043, 1048 (11th Cir. 1989) (describing
foreclosure on collateral as a remedy); SE Prop. Holdings, Inc. v. lola Holdings, Ltd.
Liab. Co., No. 12-cv-00155, 2012 U.S. Dist. LEXIS 106340, at *4 (N.D. Fla. July 31,
2012) (same).®

Plaintiffs proposed amendments fail to state plausible claims against Boris,
Alexander, East Point ADHC, Lynn ADHC, and Sigma, wherefore leave to amend is

denied.
Wl. Conclusion

The motion (Docket # 22) is DENIED.

August 19, 2021 (ad Zb-

DATE RYA W. ZOBEL
UNITE® STATES DISTRICT JUDGE

 

5 Plaintiff may be entitled to this remedy if he prevails against Boris.

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